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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                          Case No: 21-cr-205 (DLF)

         v.
                                                   40 U.S.C. § 5104(e)(2)(G)
 PATRICIA TODISCO,

         Defendant.

                                 STATEMENT OF OFFENSE

        Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Patricia Todisco, with the concurrence of her attorney, agree and stipulate to the below factual

basis for the defendant's guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

        1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol. During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the United
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States Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,

which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.

Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate

chambers to resolve a particular objection. Vice President Mike Pence was present and

presiding, first in the joint session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.



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       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


                   Todisco' Participation in the January 6, 2021, Capitol Riot

       8.      On January 6t", both Marissa A. Suarez and Patricia Todisco, attended the Stop

the Steal rally in Washington, DC and thereafter joined a crowd that entered the U.S. Capitol.

As Ms. Suarez approached the U.S. Capitol, she told Todisco, "this is what they fucking wanted,

this is what they get." "They" is a reference to members of Congress and "what they get" is a

reference to the storming of the U.S. Capitol. Both Ms. Suarez and Ms. Todisco entered the

Capitol at approximately 3:06pm through the Senate Wing Door that was broken off its hinges.

Others in the crowd with Ms. Suarez and Ms. Todisco, entered the Capitol through nearby

shattered windows. Ms. Suarez and Ms. Todisco knew law enforcements officers had attempted

to keep persons from the Capitol by setting up barriers and using tear gas, and others in the

crowd used force against officers. During their entry into the U.S. Capitol, Ms. Suarez and Ms.

Todisco saw overturned furniture and broken glass.


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       9.      As both women walked through the U.S. Capitol, Ms. Suarez joined others in

"Stop the Steal" chants. In a text on January 7th, Ms. Suarez stated, "[w]hen we found out pence

f**ed us. We all stormed the Capitol building and everyone forced entry and started breaking

shit--it was like a scene in a move." Ms. Todisco admits that she saw other rioters breaking the

windows and doors of the Capitol and then forcing their way into the Capitol. After seeing the

breach of the Senate Wing Door, Ms. Todisco followed those rioters into the Capitol. Ms.

Todisco admitted she entered the U.S. Capitol "for one simple fact, that an election was rigged

and stolen." While walking through the Capitol, Ms. Todisco entered Senator Merkley's office.


                                    Elements of the Offense

       10.     Patricia Todisco knowingly and voluntarily admits to all the elements of Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(G). Specifically, defendant admits she willfully and knowingly entered the

U.S. Capitol Building knowing that that she did not have permission to do so. Defendant further

admits that while inside the Capitol, defendant willfully and knowingly paraded, demonstrated, or

picketed.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052



                                                    Graciela R. Lindberg
                                                    Assistant United States Attorney




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                           DEFENDANT'S ACKNOWLEDGMENT

        I, Patricia Todisco, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.


Date:
                                     Patricia Todisco
                                     Defendant



                            ATTORNEY'S ACKNOWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.



Date:                                    ~----
                                     David Bos
                                     Attorney for Defendant




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